i
     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

                   District Of.                                                                                                  FILED USBC CLRK PHK
     Case nu
                                          69-                          hapter you are filing under
                                                                                                                                   2020NfiR5AH9:21
                                                                      a Chapter/
                                                                      a Q)<gpter11
                                                                      q/Chapter 12
                                                                      SB Chapter 13                                              Q Check ifthis is an
                                                                                                                                    amended filing


    Official Form 101
       olunt?                                                         n                   Is                                                            02/20

    Thebankruptcyforms useyouandDebtor1 to refertoa debtorfilingalone.A marriedcouplemayfilea bankruptcycasetogether-called a
    jointcase-andinjointcases,theseformsuseyoutoaskforinformationfrom bothdebtors.Forexample,ifa formasks,"Doyouowna car,"
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. Injoint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Part 1:     Identify Yourself

                                         About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

    i. Your full name
       Write the name that is on your
       government-issued picture
                                                          ^
                                         First name                                                  First name
       identification (for example,
       your driver's license or
                                         Middle a e                                                  Middle name
       passport).
       Bring your picture
                                                           u.             ;. -h
                                          ast name                                                   Last name
       identification to your meeting
       with the trustee.
                                         Suffix (Sr., Jr., II, III)                                  Suffix (Sr, Jr., II, III)




    2. All other names you
       have used in the last 8           First name                                                  First name
       years
                                         Middle name                                                 Middle name
       Include your married or
       maiden names.
                                         Last name                                                   Last name



                                         First name                                                  First name


                                         Middle name                                                 Middle name


                                         Last name                                                   Last name




    3. Only the last4 digits of
       your Social Security
                                         XXX       -xx-^L^j_a                                        XXX - XX

       number or federal                 OR                                                          OR
       Individual Taxpayer
                                         9 XX - XX -.                                                9xx - xx
       Identification number
       (ITIN)

                                                                                                                                            page 1
    Official Form 101
                Case       2:20-bk-02269-PSVoluntary
                                              Doc 1  Petition for Individuals
                                                           Filed   03/05/20FilingEntered
                                                                                  for Bankmptcy
                                                                                           03/05/20 09:26:37                              Desc
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Debtor 1     S>t-l                      5e                (4     \4-                          Case number uihmvm)




                                About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
                                1-11 have not used any business names or EINs.                     Q I have not used any business names or EINs.
    and Employer
    Identification Numbers
    (EIN) you have used in
    the last 8 years            Business name                                                      Business name

    Includetrade names and
    doing business as names     Business name                                                      Business name




                                EIN                                                                EIN



                                EIN                                                                EIN




5. Whereyou live                                                                                   If Debtor 2 lives at a different address:



                                \ ^Z^ IVfelis^. Uw^i                                               Number            Street
                                Number           Street




                                Six \ s                                  ^
                                City                                     State     ZIP Code        City                                       State    ZIPCode
                                            (.
                                            \
                                 ounty                                                             County


                                Ifyour mailing address is differentfrom the one                     If Debtor 2's mailing address is different from
                                above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                any noticesto you at this mailing address.                         any noticesto this mailing address.



                                Number           Street                                             Number           Street



                                P. O. Box                                                           P.O. Box



                                City                                     State     ZIPCode          City




                                C eckone:                                                           Check one:
6. Whyyou are choosing
    this district to file for
                                       Overthe last 180days beforefiling this petition,             Q Overthe last 180daysbeforefilingthis petition,
    bankmptcy                          I have lived in this district longer than in any                    I have lived in this district longer than in any
                                       other district.                                                     other district.

                                Q I have another reason. Explain.                                   Q I have another reason. Explain.
                                  (See 28 U. S.C. § 1408.)                                            (See28U. S.C. §1408.)




                                                                                                                                              page 2
           Case 2:20-bk-02269-PSVoluntary
  Official Form 101
                                   Doc 1  Petition for Individuals Filing for Bankruptcy
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                                           Petition Page 2 of 8
Debtor 1       1                                                                           Case numbervtknown)
             First Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the           Checkone. (Fora briefdescription ofeach, see Notice Required by 11 U.S.C. § 342(b)for IndividualsFiling
   Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
   under
                                a Chapter 7
                                a Chapter11
                                a Chapter 12
                                Oh3Kapter13

8. How you will pay the fee     Q I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                   loc court for more details about how you may pay. Typically, if you are paying the fee
                                   yo rself, you may pay with cash, cashier's check, or money order. If your attorney is
                                       bmitting your payment on your behalf, your attorney may paywith a credit card or check
                                     ith a pre-printed address.

                                   I need to pay the fee in installments. If you choose this option, sign and attach the
                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                Ll I request that my fee bewaived C>'ou may request this option only ifyou are filing for Chapter 7.
                                   By law, a judge may, but is not required to, waiveyourfee, and may do so only if your income is
                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                   pay the fee in installments). Ifyou choosethis option, you must fill out the Applicationto Have the
                                   Chapter7 Filing Fee Waived(Official Form 103B) andfile it with your petition.


9. Have you filed for           a No
   bankruptcy within the
                                a Yes.    District                                 When                    Case number
   last 8 years?
                                                                                          MM/ DD/YYYY

                                          District                                 When                    Case number
                                                                                          MM/ DD/YYYY
                                          District                                 When                    Case number
                                                                                          MM/ DD/YYW




10. Are any bankruptcy          a No
    cases pending or being
                                a Yes.    Debtor                                                           Relationship to you
    filed by a spouse who is
    not filing this case with             District                                 When                    Case number, if known
    you, or by a business                                                                 MM/DD /YYYY
    partner, or by an
    affiliate?
                                          Debtor                                                           Relationship to you

                                          District                                 When                    Case number, if known
                                                                                          MM/DD/YYYY



11. Do you rent your            UNO. Goto line 12.
   residence?                   Q Yes. Hasyourlandlordobtainedanevictionjudgmentagainstyou?
                                          Q No. Go to line 12.
                                          Q Yes. F'\ \ O[AInitialStatementAboutan EvictionJudgmentAgainstYou(Form 101A)andfile it as
                                               part of this bankruptcy petition.




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Debtor 1      <^\             a4-            a- At,                  -^-                        Case number (i/knowi)




Part 3:      Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor         Q No. Goto Part4.
    of any full- or part-time
    business?                         Q Yes. Nameand locationofbusiness
    A sole proprietorship is a
    business you operate as an
                                               Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or             Number      Sfreet
    LLC.
    If you have more than one
    sole proprietorship, use a
    separatesheet and attach it
    to this petition.                           City                                                    State           ZIP Code


                                               Checkthe appropriate box to describeyourbusiness:
                                               a HealthCareBusiness(asdefinedin 11 U.S.C. § 101(27A))
                                               Q SingleAssetRealEstate(asdefinedin 11 U.S.C. § 101(516))
                                               Q Stockbroker(asdefinedin 11 U.S.C. § 101(53A))
                                               a Commodity Broker (as defined in 11 U. S. C. § 101(6))
                                               Q None of the above


13. Are you filing under              Ifyou arefilingunderChapter11, thecourtmustknowwhetheryou are a small businessdebtorsothat it
    Chapter 11 of the                 cansetappropriatedeadlines. Ifyou indicatethatyou area small businessdebtor, youmustattachyour
                                      most recent balancesheet, statement ofoperations, cash-flowstatement, andfederal incometax return or if
    Bankruptcy Code and               any of these documents do not exist, follow the procedure in 11 U. S.C. § 1116(1)(B).
    are you a sma// business
    debtor?                           Q No. I am notfiling underChapter11 .
    For a definition of sma//         a No. I amfiling underChapter11, but I am NOTa small businessdebtoraccordingto the definitionin
    business debtor, see
                                               the Bankruptcy Code.
    11 U. S. C. S 101(510).
                                      L] Yes. I amfilingunderChapter11, 1 am a small businessdebtoraccordingto thedefinitionin the Bankruptcy
                                               Code, and I do not choose to proceed under SubchapterV of Chapter 11 .
                                      Q Yes. I amfilingunderChapter11, 1 am a small businessdebtoraccordingto the definitioninthe
                                               Bankmptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any            a No
    property that poses or is
    alleged to pose a threat          a Yes.    What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                          If immediate attention is needed,why is it needed?
    immediate attention?
    For example, do you own
    perishablegoods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                Where is the property?
                                                                           Number      Street




                                                                           City                                             State   ZIP Code


                                                                                                                                         page 4
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Debtor 1                                    5e-t~ U ^ ; ^                                          Case number (ITknown)




Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
                                      You must check one:                                                 You must check one:
    briefing about credit
    counseling.                       Q I received a briefing from an approved credit                     Q I received a briefing from an approved credit
                                         counseling agencywithin the 180 days before I                        counseling agencywithinthe 180 days before I
    The law requires that you            filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
    receive a briefing about credit      certif ate of completion.                                            certificate of completion.
    counseling before you file for                                                                            Attach a copy of the certificate and the payment
                                         Att ch a copy ofthe certificate and the payment
    bankruptcy. You must                                                                                      plan, if any, that you developed with the agency.
                                            n, if any, that you developed with the agency.
    truthfully checkone ofthe
    following choices. If you            I received a briefing from an approved credit                    L] I received a briefing from an approved credit
    cannot do so, you are not            counselingagencywithinthe 180 days before I                          counseling agency within the 180 days before I
    eligible to file.                    filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                         certificate of completion.                                           certificate of completion.
    Ifyou file anyway,the court          Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you           you MUSTfile a copy ofthe certificate and payment                    you MUST file a copy of the certificate and payment
    will lose whateverfiling fee         plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begincollection activities    Q I certify that I asked for credit counseling                      Q I certifythatI askedforcreditcounseling
    again.                               services from an approved agency, butwas                             services from an approved agency, but was
                                         unable to obtain those services during the 7                         unable to obtain those services during the 7
                                         days after I made my request, and exigent                            days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                         of the requirement.                                                  of the requirement.

                                         To askfor a 30-daytemporary waiverofthe                              To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                         you were unable to obtain it before you filed for                    you were unableto obtain it beforeyou filedfor
                                         bankruptcy, and whatexigentcircumstances                             bankruptcy, and what exigent circumstances
                                         required you to file this case.                                      required you to file this case.
                                         Yourcasemay be dismissed ifthe court is                              Your case may be dismissed if the court is
                                         dissatisfiedwith your reasonsfor not receiving a                     dissatisfiedwith your reasonsfor not receiving a
                                         briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                         If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                         still receive a briefingwithin 30 days afteryou file.                still receive a briefingwithin 30 days afteryou file.
                                         You must file a certificate from the approved                        You must file a certificate from the approved
                                         agency, along with a copy ofthe payment plan you                     agency, along with a copy of the payment plan you
                                         developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                         may be dismissed.                                                    may be dismissed.
                                         Any extension ofthe 30-daydeadline is granted                        Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                         days.                                                                days.

                                      [-1 I am not requiredto receivea briefingabout                      Q I am not required to receive a briefing about
                                         credit counseling becauseof:                                         credit counseling because of:

                                         Q Incapacity. I havea mental illnessor a mental                      Q Incapacity. I have a mental illness or a mental
                                                             deficiencythat makes me                                             deficiency that makes me
                                                             incapable of realizing or making                                    incapable of realizing or making
                                                             rational decisions about finances.                                  rational decisions about finances.
                                         Q Disability.       My physical disability causes me                 Q Disability. Myphysicaldisabilitycausesme
                                                             to be unable to participate in a                                    to be unable to participate in a
                                                             briefing in person, by phone, or                                    briefing in person, by phone, or
                                                             through the internet, even after I                                  through the internet, even after I
                                                             reasonably tried to do so.                                          reasonably tried to do so.
                                         Q Activeduty. I amcurrentlyonactivemilitary                           1-1 Active duty. I am currently on active military
                                                             duty in a military combat zone.                                     duty in a military combat zone.

                                         Ifyou believe you are not required to receive a                       If you believe you are not required to receive a
                                         briefing about credit counseling, you mustfile a                     briefing about creditcounseling, you must file a
                                         motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




  Official Form 101                              Voluntary Petition for IndividualsFiling for Bankruptcy                                          page5
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                                                              Petition Page 5 of 8
Debtor 1
                            ^                    e            IA     ^ ^i                      Case number t/rimmm)
                                                Last Na e




Part 6:    Answer These Questions for Reporting Purposes

                                    16a. Are yo r debts primarily consumer debts? Consumer debts are defined in 11 U. S. C. § 101(8)
16. What kind of debts do                 as "in rred by an individual primarily for a personal, family, or household purpose."
    you have?
                                          Q     o. Gotoline 16b.
                                               Yes. Go to line 17.

                                    16b. Are y        r debts primarily business debts? Business debts are debts that you incurred to obtain
                                          mon      for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                          a Yes. Go to line 17.

                                    16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 77                      a No. I amnotfilingunderChapter7. Goto line 18.
    Do you estimate that after Q Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is            administrative expenses are paid that funds wilt be available to distribute to unsecured creditors?
    excluded and                               a No
   administrative expenses
   are paid that funds will be                     Yes
   available for distribution
   to unsecured creditors?

18. How many creditors do               1-49                                a 1, 000-5,000                             Q 25, 001-50, 000
   you estimate that you            a 50-99                                 a 5,001-10,000                             d 50,001-100,000
   owe?                             a 100-1 9                               a 10,001-25,000                            a Morethan 100,000
                                    a 2     -999

19. How much do you                    $0-$50, 000                          Q $1, 000, 001-$10 million                 a $500,000,001-$1 billion
    estimate your assets to         a $50, 001-$100, 000                    l-l $10,000,001-$50million                 LI $1,000,000,001-$10billion
    be worth?                       a $100, "1-$500, 000                    1-1 $50,000,001-$100million                a $10,000,000,001-$50billion
                                    a $5 , 001-$1 million                   1-] $100,000,001-$500million               Q Morethan$50billion

zo. How much do you                   $0-$50, 000                           Q $1,000,001-$10million                    a $500,000,001-$1 billion
    estimate your liabilities       a $50, 001-$100, 000                    Q $10, 000, 001-$50 million                Q $1,000,000,001-$10billion
    to be?                          a $100,001-$500,000                     I-] $50,000,001-$100million                01 $10,000,000,001-$50billion
                                    a $500,001-$1 million                   LI $100,000,001-$500million                Q More than $50 billion
Part 7:    Sign Below

                                    I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                             correct.

                                    If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                    of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                    under Chapter 7.
                                    If no attorney represents me and I did not payor agreeto pay someonewho is not an attorneyto help me fill out
                                    this document, I have obtained and read the notice required by 11 U. S. C. § 342(b).
                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                    I understandmaking a false statement, concealing property, or obtainingmoney or property byfraud in connection
                                    with a bankruptcy case can result in fines up to $250,000, or imprisonmentfor up to 20 years, or both.
                                    18 U. S.C. §§ 152, 1341, 1519, and 3571.

                                                                   ^
                                       Signature of Debtor 1                                             Signature of Debtor 2

                                        Executed on         ^ -S~- 2-0                                   Executed on
                                                            MM / DD /YYYY                                              MM / DO /YTTY


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Debtor 1
                                                   ^ LA           s\                       Case number (ifknown)




                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available undereach chapterfor whichthe person is eligible. I also certifythat I have deliveredto the debtor(s)
                                the notice required by 1 1 U. S.C. § 342(b) and, in a case inwhich§ 707(b)(4)(D) applies, certifythat I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                    Date
                                   Signature of Attorney for Debtor                                                MM    /    DD /rrr/




                                   Printed name



                                   Firm name



                                   Number      Street




                                   City                                                            State           ZIP Code




                                   Contact phone                                                   Email address




                                   Bar number                                                      State




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>
Debtor 1
                            v             e-
                                          Last Name
                                                      v^ ^ \^                           Case number (ifhnovm)




Foryou if you are filing this      The lawallowsyou, as an individual,to represent yourselfin bankmpteycourt, but you
bankruptcy without an              should understand that many people find it extremely difficultto represent
attorney                           themselves successfully. Because bankmptcy has long-term financial and legal
                                   consequences, you are strongly urged to hire a qualifiedattorney.
Ifyou are represented by
an attorney, you do not            To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.            technical, and a mistake or inaction may affect your rights. For example, your case may be
                                   dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                   hearing, or cooperate with the court, case trustee, U. S. trustee, bankruptcy administrator, or audit
                                   firm if your case is selected for audit. Ifthat happens, you could lose your right to file another
                                   case, or you may lose protections, including the benefit of the automatic stay.
                                   You must list all your property and debts in the schedules that you are required to file with the
                                   court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                   in yourschedules. Ifyou do not list a debt, the debtmay not be discharged. Ifyou do not list
                                   property or property claim it as exempt, you may not be able to keep the property. The judge can
                                   also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                   case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                   cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                   Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                   If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                   hired an attorney. The courtwill not treat you differently becauseyou are filingfor yourself. To be
                                   successful, you must be familiarwiththe United States Bankmptcy Code, the Federal Rules of
                                   Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                   be familiarwith any state exemption lawsthat apply.

                                   Are you awarethat filing for bankruptcy is a serious actionwith long-tenn financialand legal
                                   consequences?
                                   a^o
                                   ^ Yes
                                   Are you awarethat bankruptcyfraud is a seriouscrime andthat ifyourbankmptcyforms are
                                   inaccurate or incomplete, you could be fined or imprisoned?




                                   DidjtBtfpayor agreeto pay someonewhois not an attorneyto help you fill out yourbankruptcyforms?
                                   aNo
                                   1-1 Yes. NameofPerson
                                             Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature(Official Form 119).


                                   By signinghere, I acknowledgethat I understandthe risks involved in filingwithoutan attorney. I
                                   have read and understood this notice, and I am awarethat filing a bankruptcy case without an
                                   attorney may cause me to lose my rights or property if I do not properly handle the case.




                                    Signature of Debtor 1                                         Signatureof Debtor 2


                                   Date                 -S'- 2.C>                                 Date
                                                      MM/DD /YTTY                                                 MM/ DD/YYYY

                                   Contact phone                                                  Contact phone


                                   Cell phone                                                     Cell phone

                                   Email address                                                  Email address




                                                                                                                                 pageS
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